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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-00014-PAB-3

UNITED STATES OF AMERICA,

              Plaintiff,

v.

3. JAMARIUS JONES,

           Defendant.
______________________________________________________________________

 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY JUDGMENT
______________________________________________________________________

       THIS MATTER comes before the Court on the United States’ Motion for

Preliminary Order of Forfeiture, pursuant to Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure. The Court having read said Motion and being fully advised in the

premises finds:

       THAT on January 18, 2022, defendant Jamarius Jones was charged by

Superseding Indictment with the following: in Count One with interference with

commerce by threats or violence, in violation of 18 U.S.C. § 1951(a) and 2; and in

Count Four with possession of a firearm during and in relation to a crime of violence, in

violation of 18 U.S.C. § 924(c)(1)(A)(ii);

       THAT the Superseding Indictment also included a forfeiture allegation which

sought forfeiture from defendant Jamarius Jones, pursuant to 18 U.S.C. §§ 924(d),

981(a)(1)(C) and 28 U.S.C. § 2461;



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      THAT on February 18, 2022, the United States and defendant Jamarius Jones

entered into a Plea Agreement, in which defendant pleaded guilty to Count One of the

Superseding Indictment, charging a violation of 18 U.S.C. §§ 1951(a) and 2; and

      THAT the Plea Agreement also contained a factual basis and cause to issue a

personal money judgment as a result of the commission of the offense in Count One,

pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Rule 32.2(b) of the

Federal Rules of Criminal Procedure.

             THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

      THAT a Preliminary Order of Forfeiture for a Personal Money Judgment against

defendant Jamarius Jones in the amount of $359,000.00 shall be entered in accordance

with 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) as a result of commission of the

offense in Count One;

      THAT pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this Preliminary

Order of Forfeiture shall become final as to the defendant at the time of sentencing and

shall be made part of the sentence and included in the judgment; and

      THAT this Preliminary Order of Forfeiture may be amended pursuant to Rule

32.2(e)(1) of the Federal Rules of Criminal Procedure.

      SO ORDERED this _________ day of __________________ 2022.

                                 BY THE COURT:


                                 _________________________________
                                 PHILLIP A. BRIMMER
                                 Chief United States District Judge



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